Case 2:05-cr-80025-VAR-RSW ECF No. 630, PageID.5768 Filed 08/23/10 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),                  CASE NUMBER: 05-80025
                                                    HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                           ORDER

      On August 23, 2010, Timothy O’Reilly asked the Court to instruct the jury that if it

unanimously finds that the Government proved one preliminary intent factor beyond a

reasonable doubt, it should not consider the remaining preliminary intent factors.

O’Reilly relies on United States v. Tipton, 90 F.3d 861 (4th Cir. 1996), and United States

v. Flores, 63 F.3d 1342 (5th Cir. 1995).

      Tipton and Flores involve the application of the mental states outlined in 21

U.S.C. §841(n)(1):

      (A)    intentionally killed the victim,

      (B)    intentionally inflicted serious bodily injury which resulted in the
             death of the victim,

      (C)    intentionally engaged in conduct intending that the victim be killed
             or that lethal force be employed against the victim, which resulted
             in the death of the victim, or

      (D)    intentionally engaged in conduct which:

             (i)     the defendant knew would create a grave risk of death to a
                     person, other than one of the participants in the offense; and


                                                1
Case 2:05-cr-80025-VAR-RSW ECF No. 630, PageID.5769 Filed 08/23/10 Page 2 of 3




              (ii)   resulted in the death of the victim.

       In Tipton, the district court allowed the jury to find more than one mental state

outlined in 21 U.S.C. §841(n)(1)(A)-(D). Tipton, 90 F.3d at 898. The jury found all four

mental states as to each of the murders for which each of the appellants were

convicted. Id. at 899. The appellate court held that “to allow cumulative findings of

these intended alternative circumstances, all of which do involve different forms of

criminal intent, runs a clear risk of skewing the weighing process in favor of the death

penalty and thereby causing it to be imposed arbitrarily, hence unconstitutionally.” Id.

(citing Stringer v. Black, 503 U.S. 222, 230-32 (1992)); see also Flores, 63 F.3d at 1370

(§841(n)(1)(A)-(D) act as both a gateway and as aggravators; once the jury finds a

factor under §841(n)(1), it must later weigh that factor against any mitigating factor).

       The Court finds O’Reilly’s reliance on Tipton and Flores misplaced.

       While 21 U.S.C. §841 is similar to the Federal Death Penalty Act, the Federal

Death Penalty Act differs from that statute in an important respect: the Federal Death

Penalty Act precludes the jury from weighing the preliminary intent factors. Indeed, the

Instruction that the parties agreed on instructs the jury that it “may not consider the

preliminary intent factors when [it] weigh[s] the aggravating and mitigating factors.”

       The Court will submit, and the jury may find, more than one preliminary intent

factor. See United States v. Bolden, 545 F.3d 609, 629-30 (8th Cir. 2008) (citing United

States v. Jackson, 327 F.3d 273, 300-01 (4th Cir. 2003); United States v. Webster, 162

F.3d 308, 323-24 (5th Cir. 1998); United States v. Cheever, 423 F.Supp.2d 1181, 1199-

1200 (D. Kan. 2006); United States v. Natson, 444 F.Supp.2d 1296, 1308-09 (M.D. Ga.

2006)).

                                             2
Case 2:05-cr-80025-VAR-RSW ECF No. 630, PageID.5770 Filed 08/23/10 Page 3 of 3




       IT IS ORDERED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: August 23, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 23, 2010.

 s/Carol A. Pinegar
 Deputy Clerk




                                                   3
